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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

FRANCINE TAYLOR                               §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §     CIVIL ACTION NO. 4:22-CV-00557-SDJ
                                              §
JACK HENRY & ASSOCIATES, INC.                 §
                                              §
       Defendant.                             §

           DEFENDANT'S NOTICE OF NON-OPPOSITION TO PLAINTIFF’S
                    MOTION TO SUBSTITUTE COUNSEL

       Defendant Jack Henry & Associates, Inc. (“Defendant”) files this Notice advising the Court

that it does not oppose Plaintiff’s Motion to Substitute Counsel (dkt. 28). The motion notes that

Plaintiff’s counsel left a voicemail message on June 2, 2023 related to the motion. However,

defense counsel was out of the office on June 2 and was unable to return the telephone call prior

to Plaintiff’s counsel filing the motion to substitute counsel. Nonetheless, Defendant does not

oppose Plaintiff’s request to substitute counsel.




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                                                    Respectfully submitted,


                                                     /s/ Victor N. Corpuz
                                                    Victor N. Corpuz
                                                    Tex. Bar No. 04838450
                                                    Victor.Corpuz@jacksonlewis.com
                                                    Mehreen Mazhar
                                                    State Bar No. 24096992
                                                    Mehreen.Mazhar@jacksonlewis.com

                                                    JACKSON LEWIS P.C.
                                                    500 N. Akard, Suite 2500
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 520-2400
                                                    Facsimile: (214) 520-2008

                                                    ATTORNEYS FOR DEFENDANT




                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing pleading was electronically filed with the
clerk for the U.S. District Court, Eastern District of Texas, on June 14, 2023, using the electronic case
filing system of the court, and the electronic case filing system sent a “Notice of Electronic Filing” to
the following attorneys of record who have consented in writing to accept this Notice as service of this
document by electronic means:


         David M. Curtis
         David M. Curtis & Associates, PC
         381 Casa Linda Plaza, Suite 103
         Dallas, TX 75218
         david@laborassociates.com



                                                              /s/ Victor N. Corpuz
                                                              Victor N. Corpuz
4891-3928-3818, v. 1




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